82 F.3d 423
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.PHOENIX MARKETING INC., a Washington corporation, Plaintiff-Appellant,v.DR. PEPPER BOTTLING COMPANY, a Washington corporation,Defendant-Appellee.
    No. 95-36268.
    United States Court of Appeals, Ninth Circuit.
    Submitted April 10, 1996.*Decided April 15, 1996.
    
      Before:  HALL, THOMPSON and RYMER, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      This appeal from the denial of a motion for a preliminary injunction comes to us for review under Ninth Circuit Rule 3-3.   We have jurisdiction under 28 U.S.C. § 1292(a)(1), and we affirm.
    
    
      3
      Our sole inquiry is whether the district court abused its discretion in denying preliminary injunctive relief.  See Gregorio T. v. Wilson, 59 F.3d 1002, 1004-05 (9th Cir.1995).   The record before us shows that the court did not rely on an erroneous legal premise or clearly erroneous findings of fact.   See id.   The court did not, moreover, abuse its discretion in concluding that appellant's showing of probable success on the merits, compared to the balance of hardships, was insufficient to warrant preliminary injunctive relief.   See id.   Accordingly, the denial of a preliminary injunction is
    
    AFFIRMED.1
    
      
        *
         The panel finds this case suitable for decision without oral argument.   Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
      
        1
         Appellant's January 24, 1996 motion to file all filings under seal is granted
      
    
    